AO 2458 (Rev. 11 / 16)
                          Case 9:17-cr-00007-DWM Document 57 Filed 09/19/17 Page 1 of 7
                         Judgment in a Criminal Case
                         Sheet I
                                                                                                                           FILED
                                                                                                                           SEP 19 2011
                                           UNITED STATES DISTRICT COURT                                                    qlery<, U.s Courts
                                                                                                                          O!Strict Of M t
                                                                  District of Montana                                     Missoula o;~~;~~a
                                                                            )
               UNITED ST A TES OF AMERICA                                   )         JUDGMENT IN A CRIMINAL CASE
                                    v.                                      )
                  Theodore Javarre Drummond
                                                                            )
                                                                                      Case Number: CR 17-07-M-DWM-02
                                                                            )
                                                                            )         USM Number: 14521-104
                                                                            )
                                                                            )          Colin Stephens (appointed)
                                                                                      Defendant's Attorn ey
                                                                            )
THE DEFENDANT:
Ill pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found gui lty on coun t(s)
   after a plea of not guilty.

The defendant is adj udicated guil ty of these offenses:

Title & Section                    Nature of Offense                                                          Offense Ended                Count
 18 U.S.C. § 371                     Conspiracy to commit mail fraud                                            4/15/2016




       The defendant is sentenced as provided in pages 2 through                  7
                                                                           - - - - - of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

D The defendant has been fo und not gui lty on count(s)
Ill Count(s)      2-3                                     Dis       ll2'.f are dismissed on the motion of the Uni ted States.
                ------------~



          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mai ling add ress until all fines , restituti on, costs, and special assessments imposed by this judgment are full y aid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in eco nomic circumst               es.




                                                                           Date
                                                                                                               L                c
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AO 2458 (Rev . 11 / 16) Judgment in Criminal Case
                        Sheet 2 - Imprisonment

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 DEFENDANT : Theodore Javarre Drummond
 CASE NUMBER: CR 17-07-M-DWM-02

                                                               IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

  None .




     0      The court makes the following recommendations to the Bureau of Prisons:




     0      The defendant is remanded to the custody of the United States Marshal.

     0      The defendant shall surrender to the United States Marshal for this district:

            0   at                                  0   a.m.     D p.m.       on

            0   as notified by the United States Marshal.

     0      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            0   before 2 p.m. on

            0   as notified by the United States Marshal.

            0   as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows :




          Defendant delivered on                                                            to

a _ _ _ _ _ _ _ _ __ _ _ _____ , with a certified copy of this judgment.



                                                                                                    UNITE D STATES MARSHAL



                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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                        Sheet 4-Probation
                                                                                                        Judgment- Page _.3___ of
 DEFENDANT: Theodore Javarre Drummond
 CASE NUMBER: CR 17-07-M-DWM-02
                                                              PROBATION

 You are hereby sentenced to probation for a term of:
     5 years.




                                                  MANDATORY CONDITIONS
1.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of placement on
       probation and at least two periodic drug tests thereafter, as determined by the court.
                0 The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4.      el You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.      el You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 l, et seq.)
              as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the locatio n
              where yo u reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.      0 You must participate in an approved program for domestic violence. (check if applicable)
7.      !Z'.J You must make restitution in acco rdance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
8.     You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9.     ff this judgment imposes a fine , you must pay in accordance with the Schedule of Payments sheet of this judgment.
I 0.   You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
       fin es, or special assessments.


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                         Sheet 4A -   Probation
                                                                                                   Judgment- Page --~
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DEFENDANT: Theodore Javarre Drummond
CASE NUMBER: CR 17-07-M-DWM-02

                                          STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition .

I.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
      you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed .
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      anangements (such as the people you live with) , you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so . If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities) , you must notify the probation officer at least l 0 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are anested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0 . You must not own, possess, or have access to a firearm , ammunition, destructive device, or dangerous weapon (i.e., an ything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11 . You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction . The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S . probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Sup ervised
Release Conditions, available at: www.u sco urts .gov .

Defendant's Signature                                                                                      Date
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                        Sheet 40 - Probation

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DEFENDANT : Theodore Javarre Drummond
CASE NUMB ER: CR 17-07-M-DWM-02

                                   SPECIAL CONDITIONS OF SUPERVISION
 1. The offender shall be monitored by Radio Frequency (RF) Mon itoring for a period of 90 days, and shall abide by all
 technology requirements. The participant shall pay all or part of the costs of participation in the location monitoring
 program as directed by the Court or the supervising probation officer. This form of location monitoring technology shall be
 utilized to monitor the following restriction on the offender's movement in the community as well as other court-imposed
 conditions of release :
 The defendant is restricted to his residence at all times for a period of 90 days except for employment; education ; religious
 services ; medical, substance abuse , or mental health treatment; attorney visits; court appearances; court-ordered
 obligations; or any other activities as pre-approved in writing by the probation officer.

 2. The defendant shall submit to the U.S . Probation Officer conducting periodic unannounced searches of the defendant' s
 person, property, house, residence, vehicles, papers, computer(s), other electronic communication or data storage devices
 or media, including retrieval and copying of all data from the computer(s) and any internal or external peripherals and
 effects at any time, with or without warrant by any United States Probation Officer or law enforcement officer acting at the
 request of the probation officer if there is reasonable suspicion concerning unlawful conduct or a violation of a condition of
 probation or supervised release . The search may include the retrieval and copying of all data from the computer(s) and any
 internal or external peripherals to ensure compliance with other supervision conditions and/or removal of such equipment
 for the purpose of conducting a more thorough inspection ; and to have installed on the defendant's computer(s), at the
 defendant's expense, any hardware or software systems to monitor the defendant's computer use .

 3. The defendant shall complete 100 hours of community service work , at a rate of not less than five hours per month as
 directed by the United States Probation Office .

 4 . The defendant will provide the United States Probation Officer with any requested financial information and shall incur
 no new lines of credit in his own name or the name of any other person or entity without the prior approval of the United
 States Probation Officer. The defendant must notify the Probation Officer of any material changes in his economic
 circumstances that might affect his ability to pay restitution, fines, or special assessments .

 5. The defendant shall apply all monies received from income tax refunds, judgments, and/or any other anticipated or
 unexpected financial gains to the outstanding court-ordered financial obligation .

 6. The defendant shall participate in and successfully complete a program of substance abuse treatment as approved by
 the United States Probation Office, until the defendant is released from the program by the supervising probation officer.
 The defendant is to pay part or all of the cost of this treatment, as directed by the United States Probation Office and
 depending upon his ability to pay.

 7. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
 primary item of sale . The defendant shall not knowingly enter any dwelling or house where there is the active or ongoing
 use, abuse, or consumption of alcohol or controlled substances , and he shall not knowingly enter or stay in any dwelling or
 house where one or more persons are consuming alcohol or using controlled substances, unless the defendant receives
 the prior written approval of the supervising probation officer. The defendant shall not knowingly enter any automobile
 where a person possesses or is consuming alcohol or controlled substances.

 8. The defendant shall participate in substance abuse testing , to include not more than 180 urinalysis tests , not more than
 180 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
 defendant shall pay all or part of the costs of testing as directed by the United States Probation Office .

 9. The defendant shall not possess, ingest or inhale any toxic substances such as , but not limited to, synthetic marijuana
 and/or synthetic stimulants such as bath salts or "spice" that are not manufactured for human consumption , for the purpose
 of altering his mental or physical state.

 10. The defendant shall not purchase , possess , use, distribute or administer marijuana, or obtain or possess a medical
 marijuana card or prescription .
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                           Sheet 5 - Criminal Monetary Penalties
                                                                                                                 Judgment -   Page     6     of        7
 DEFENDANT: Theodore Javarre Drummond
 CASE NUMBER: CR 17-07-M-DWM-02
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                          Assessment                    JVT A Assessment*                    Fine                       Restitution
 TOTALS                 $ 100.00                    $                                    $                            $ 50,399.44



 0       The determination ofrestitution is deferred until
                                                           ----
                                                                . An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

 l?'.J   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid .

Name of Payee                                                               Total Loss**                Restitution Ordered           Priority or Percentage
   Verizon Wireless                                                                    $50,399.44                   $50,399.44

   Attn: Jerald Rote, Manager-Corp. Security

   8350 E. Crescent Parkway, Suite 200

   Greenwood Village, CO 80111




TOTALS                                  $                   50,399.44                                     50,399.44


ill      Restitution amount ordered pursuant to plea agreement $                   50,399.44
                                                                                  - - - - -- - - - - -
0        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S .C. § 3612([). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g) .

0        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         l?'.J   the interest requirement is waived for the        0       fine    0    restitution .

         0       the interest requirement for the       0   fine       D     restitution is modified as follows :

* Justice for Victims of Trafficking Act of 2015 , Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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                         Sheet 6 - Schedule of Payments
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 DEFENDANT: Theodore Javarre Drummond
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                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~     Lump sum payment of$         100.00               due immediately, balance due

             D      not later than                                  , or
             bZI    in accordance with D     C,    D    D,     D     E, or     [;z] F below; or

 B     D     Payment to begin immediately (may be combined with              D C,        DD, or       D F below) ; or

 C     D     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or y ears), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or

 D     D     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years) , to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's abi lity to pay at that time ; or

 F     ~     Special instructions regarding the payment of criminal monetary penalties:

              The $100.00 special assessment is due within 30 days, payable to the Clerk of Court, United States District Court
              for the District of Montana. The defendant shall pay restitution at a rate of not less than $100 per month or as
              otherwise directed by the U.S. Probation Office based on his financial condition.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons ' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 ~     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including def endant nu111be1), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.
        Defendant Theodore Javarre Drummond CR 17-07-M-DWM-02
        Co-Defendant Martin Luther Johnson CR 17-07-M-DWM-01



D      The defendant shall pay the cost of prosecution.

D      The defendant shall pay the following court cost(s):

D      The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
